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4rtide Published: Wednesday, February 04, 2004

Inmate was used for
Taser practice

By Sean Kelly /
Denver Post Staff Writer ‘

A Chaffee County sheriff's officer was suspended
Tuesday and could be fired for allegedly using an
Inmate for Taser practice at a training session.

Detentions officer Scott Glenn was placed on

administrative leave after an Investigation by Sheriff |

Tim Walker, the same day the sheriff learned of the.
allegation fram The Denver Post.

"Tt was extremely poor judgment," Walker said.
"There's no way a detention officer should ever use
an inmate in that capacity.” ,

Thomas Montoya, a prisoner serving an 18-month
sentence from a probation violation relating to a
1999 domestic-violence-related assault, said he was
shocked with a Taser during a sheriffs training class
on Oct, 17, 2003.

“Imagine 50,000 volts traveling through your body,
Would it hurt?" said Montoya, whe suffered no injury
but said he was left with a burn mark.

During the
class at the
Chaffee
County
Detention
Center in
Salida,
detention —
officers and
deputies
practiced
using the
Taser on one

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alr mattress. He said he locked arms with Glenn, ‘| Metro briefs

 

serving as his partner In the training. And then,
Montoya said, he was shocked and knocked to the.
ground:

Walker Investigated Tuesday and said Glenn and
other employees admitted that Montoya was
shocked. They said he asked ta be Included in the
training class, and he. left the training uninjured and
smiting, Waitker said.

“They assumed it wasn't a big deal. It was a big
deal,” the sheriff said. "You could say I'm very

{| upset.”

Montoya, who said he worked as a Colorado
Department of Corrections officer for seven years
until his brush with the law, said he never consented
to being shocked with a Taser, which delivers a
shock of electricity meant to disable a suspect.

"I didn't sign anything. I was called in there,”
Montoya said from jail. "They Zapped me."

Walker said Glenn or others could face criminal
charges if Montoya was an unwilling participant,
Walker said he had contacted the district attarney
and an investigation was underway,

Glenn was a part-time officer at the jail and has .
worked for the sheriff only about six months, Walker
sald.

| Montoya said late Tuesday that he was being

transferred from Salida in the south-central
mountains to the Park County jail in Fairplay.

He said he is contesting his sentence, which he

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Park-Chaffee 0041

2/4/04
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claims was based on faulty information.

"I've been rallroaded since 1999. I've lost my whole
life," sald Montoya, who lived in Cafion City. "I need
a dood lawyer and good investigator."

The sheriff acknowledged Montoya's motive in talking
about the story but said using a prisoner for training
violates department policy, "periad.”

| Walker said the Chaffee County Sheriff's Office has
two Tasers, both of which are used exclusively: tn the
jall. The department is training officers to use them
‘and could have deputies using them on the street in
the future, he said.

In the class, sheriff's. officers. paired off, were hooked.
up to electric leads from a Taser and shocked for one
second, Walker sald. They were kneellng on a mat,
he said, and would simply tip over, unharmed.

An outside Instructor conducted the class, but now
that deputles are trained, alf classes will be
conducted Internally, Walker said. The sheriff
promised that no other inmates will be used in
training,

"Not In my wildest imagination did I think they would
use Inmates," Walkér said, referring. fo officers who
participated. in the class. "1 don‘t take these things
lightly."

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